                                                                  04/22/2019


                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,

                         Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,           Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSLEY,
  IDENTITY EVROPA, MATTHEW          JURY TRIAL DEMANDED
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                         Defendants.



       ORDER SEALING CERTAIN EXHIBITS TO PLAINTIFFS’ MOTION FOR
                SANCTIONS AGAINST VANGUARD AMERICA




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         WHEREAS, on April 16, 2019, the Court ordered that Plaintiffs “file complete and

  unredacted copies” of certain exhibits that Plaintiffs had referenced in their Motion for Sanctions

  Against Vanguard America” and further stated that “[a]ll documents may be filed under seal in

  accordance with Local Rule 9.” (ECF No. 467)

         WHEREAS, the Plaintiffs have provided unredacted copies of those exhibits to the Court

  and moved, pursuant to Local Rule 9, for those exhibits to be sealed.

         IT IS HEREBY ORDERED, that Plaintiffs’ motion to seal, (ECF No. 471) is

  GRANTED, and Exhibits 12, 26, and 33 to Plaintiffs’ Motion for Sanctions Against Vanguard

  America (ECF No. 465) are hereby sealed pursuant to Local Rule 9.



  Dated: April 22, 2019




  SO ORDERED
                                                           Hon. Joel C. Hoppe, M.J.




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